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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR14

       vs.
                                                                        ORDER
OPAL HARRIS,

                       Defendant.


       This matter is before the court on defendant's UNOPPOSED MOTION TO EXTEND
PRETRIAL MOTION DEADLINE [43]. For good cause shown, I find that the motion should
be granted. The defendant will be given an approximate 90-day extension. Pretrial Motions
shall be filed by December 4, 2017.


       IT IS ORDERED:
       1.      Defendant's UNOPPOSED MOTION TO EXTEND PRETRIAL MOTION
DEADLINE [43] is granted. Pretrial motions shall be filed on or before December 4, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result
of the granting of the motion, i.e., the time between September 5, 2017 and December 4, 2017,
shall be deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act for the reason defendant's counsel required additional time to adequately prepare the
case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       Dated this 6th day of September, 2017.

                                                      BY THE COURT:

                                                      s/ Michael D. Nelson
                                                      United States Magistrate Judge
